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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11    KATHRYN KAILIKOLE,                                 Case No.: 18cv2877-AJB(MSB)
12                                      Plaintiff,       SCHEDULING ORDER
      v.                                                 REGULATING DISCOVERY
13
                                                         AND OTHER PRE-TRIAL
14    PALOMAR COMMUNITY COLLEGE                          PROCEEDINGS
      DISTRICT, et al.,
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                                     Defendants.
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19          Pursuant to Rule 16.1(d) of the Local Rules, a Case Management Conference was
20    held on June 27, 2019. After consulting with the attorneys of record for the parties and
21    being advised of the status of the case, and good cause appearing, IT IS HEREBY
22    ORDERED:
23          1.    The parties shall file a joint motion for a protective order, which includes the
24    terms of their agreement for handling confidential documents and information, on or
25    before July 29, 2019.
26          2.    A telephonic attorneys-only Case Management Conference is set for
27    September 10, 2019, at 9:00 a.m. Plaintiff’s counsel is to arrange and initiate the
28    conference call. The telephone number for Judge Berg’s chambers is (619) 557-6632.

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 1          3.     Any motion to join other parties, to amend the pleadings, or to file additional
 2    pleadings shall be filed by September 30, 2019.
 3          4.     The parties must disclose the identity of their respective experts in writing
 4    by January 27, 2020. The date for the disclosure of the identity of rebuttal experts must
 5    be on or before February 10, 2020. The written designations must include the name,
 6    address and telephone number of the expert and a reasonable summary of the testimony
 7    the expert is expected to provide. The list must also include the normal rates the expert
 8    charges for deposition and trial testimony. The parties must identify any person who
 9    may be used at trial to present evidence pursuant to Fed. R. Evid. 702, 703 and 705,
10    respectively. This requirement is not limited to retained experts.
11          5.     On or before March 9, 2020, each party must comply with the disclosure
12    provisions in Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure. This disclosure
13    requirement applies to all persons retained or specifically employed to provide
14    expert testimony or whose duties as an employee of the part regularly involve the
15    giving of expert testimony.
16          6.     Any party shall supplement its disclosure regarding contradictory or rebuttal
17    evidence under Fed. R. Civ. P. 26(a)(2)(c) by March 23, 2020.
18          7.     Please be advised that failure to comply with this section or any other
19    discovery order of the court may result in the sanctions provided for in Fed. R. Civ.
20    P. 37 including a prohibition on the introduction of experts or other designated
21    matters in evidence.
22          8.     All fact discovery must be completed by all parties on or before January 15,
23    2020. All expert discovery must be completed by all parties on or before April 20, 2020.
24    “Completed” means that all discovery under Rules 30-36 of the Federal Rules of Civil
25    Procedure, and discovery subpoenas under Rule 45, must be initiated a sufficient period
26    of time in advance of the cut-off date, so that it may be completed by the cut-off date,
27    taking into account the times for service, notice and response as set forth in the Federal
28    Rules of Civil Procedure. All interrogatories, requests for admission, and document

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 1    production requests must be served by November 18, 2019.
 2          Counsel shall promptly and in good faith meet and confer with regard to all
 3    discovery disputes in compliance with Local Rule 26.1(a). All discovery motions must
 4    be filed within 30 days of the event giving rise to the dispute. For oral discovery, the
 5    event giving rise to the dispute is the completion of the transcript of the relevant portion
 6    of the deposition. For written discovery, the event giving rise to the discovery dispute is
 7    the date of service of the response, not the date on which counsel reach an impasse in
 8    meet and confer efforts. If a party fails to provide a discovery response, the event giving
 9    rise to the discovery dispute is the date response was due.
10          The Court’s procedures for resolving discovery disputes are set forth in Magistrate
11    Judge Michael S. Berg’s Civil Chambers Rules, which are posted on the Court’s website.
12    A failure to comply in this regard will result in a waiver of a party’s discovery issue.
13    Absent an order of the court, no stipulation continuing or altering this requirement
14    will be recognized by the court.
15          9.     A Mandatory Settlement Conference shall be conducted on February 3,
16    2020, at 1:30 p.m., in the chambers of Magistrate Judge Michael S. Berg located at 221
17    West Broadway, Suite 3145, San Diego, CA 92101. All discussions at the Mandatory
18    Settlement Conference will be informal, off the record, privileged, and confidential.
19    Counsel for any non-English speaking party is responsible for arranging for the
20    appearance of an interpreter at the conference.
21                 a.     Personal Appearance of Parties Required: All named parties, party
22    representatives, including claims adjusters for insured defendants, as well as the principal
23    attorney(s) responsible for the litigation, must be present in person and legally and
24    factually prepared to discuss and resolve the case. Counsel appearing without their
25    clients (whether or not counsel has been given settlement authority) will be cause for
26    immediate imposition of sanctions and may also result in the immediate termination of
27    the conference.
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 1                   b.     Full Settlement Authority Required: A party or party
 2    representative with full settlement authority1 must be present at the conference. Retained
 3    outside corporate counsel shall not appear on behalf of a corporation as the party
 4    representative who has the authority to negotiate and enter into a settlement. A
 5    government entity may be excused from this requirement so long as the government
 6    attorney who attends the Mandatory Settlement Conference has (1) primary responsibility
 7    for handling the case, and (2) authority to negotiate and recommend settlement offers to
 8    the government official(s) having ultimate settlement authority.
 9                   c.     Confidential Settlement Statements Required: On or before
10    January 27, 2020, the parties shall submit directly to Magistrate Judge Berg’s chambers
11    (via hand delivery or by e-mail to the Court at efile_berg@casd.uscourts.gov),
12    confidential settlement statements. The statements are limited to ten (10) pages, plus an
13    additional ten (10) pages of exhibits. Each party’s settlement statement must outline (1)
14    the nature of the case and the claims, (2) position on liability or defenses; (3) position
15    regarding settlement of the case with a specific demand/offer for settlement, and (4)
16    any previous settlement negotiations or mediation efforts. The Mandatory Settlement
17    Conference statement must not merely repeat what was contained in the Early Neutral
18    Evaluation conference brief or any earlier settlement brief. The settlement statement
19    must specifically identify what the discovery process revealed and the effect that the
20    evidence has on the issues in the case. To the extent specific discovery responses,
21    portions of deposition testimony, or expert reports are pertinent to the Court’s evaluation
22    of the matter, these documents must be attached as exhibits. Evidence supporting or
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        “Full settlement authority” means that the individuals at the settlement conference must be authorized
25    to fully explore settlement options and to agree at that time to any settlement terms acceptable to the
      parties. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989). The person
26    needs to have “unfettered discretion and authority” to change the settlement position of a party. Pitman
      v. Brinker Int’l, Inc., 216 F.R.D. 481, 485–86 (D. Ariz. 2003). The purpose of requiring a person with
27    unlimited settlement authority to attend the conference contemplates that the person’s view of the case
      may be altered during the face to face conference. Id. at 486. A limited or a sum certain of authority is
28    not adequate. See Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595–97 (8th Cir. 2001).

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 1    refuting either party’s claim for damages must also be identified and included as an
 2    exhibit.
 3          If a specific demand or offer cannot be made at the time the settlement statement is
 4    submitted, then the reasons as to why a demand or offer cannot be made must be stated.
 5    Further, the party must explain when they will be in a position to state a demand or offer.
 6    General statements such as a party will “negotiate in good faith” is not a specific demand
 7    or offer. The settlement statement should be submitted confidentially and need not be
 8    shared with other parties.
 9                 d.    Requests to Continue a Mandatory Settlement Conference:
10    Any request to continue the Mandatory Settlement Conference, or request for relief from
11    any of the provisions or requirements of this Order, must be sought by a written
12    application. Absent good cause, requests for continuances will not be considered
13    unless submitted in writing no fewer than seven (7) calendar days prior to the
14    scheduled conference.
15          If the case is settled in its entirety before the scheduled date of the conference,
16    counsel and any unrepresented parties must still appear in person, unless a written
17    joint notice confirming the complete settlement of the case is filed no fewer than
18    twenty-four (24) hours before the scheduled conference.
19          10.    All other dispositive motions, including those addressing Daubert issues,
20    must be filed on or before May 18, 2020. Please be advised that counsel for the moving
21    party must obtain a motion hearing date from the law clerk of the judge who will hear the
22    motion. Motions in Limine are to be filed as directed in the Local Rules, or as otherwise
23    set by Judge Battaglia.
24          11.    Counsel must comply with the pre-trial disclosure requirements of Fed. R.
25    Civ. P. 26(a)(3) on or before August 27, 2020.
26          12.    This order replaces the requirements under Civ. L. R. 16.1.f.6.c. No
27    Memoranda of Law or Contentions of Fact are to be filed.
28          13.    The parties must meet and confer on or before September 3, 2020, and

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 1    prepare a proposed pretrial order in the form as set forth in Civ. L. R. 16.1.f.6.
 2            The Court encourages the parties to consult with the assigned magistrate judge to
 3    work out any problems in preparation of the proposed pretrial order. The court will
 4    entertain any questions concerning the conduct of the trial at the pretrial conference.
 5            14.   Objections to Pre-trial disclosures must be filed no later than September 10,
 6    2020.
 7            15.   The Proposed Final Pretrial Conference Order as described above must be
 8    prepared, served and lodged with the assigned district judge on or before September 17,
 9    2020.
10            16.   The final Pretrial Conference is scheduled on the calendar of the Honorable
11    Anthony J. Battaglia on September 24, 2020, at 2:00 p.m.
12            17.   A post trial settlement conference before a magistrate judge may be held
13    within 30 days of verdict in the case.
14            18.   The dates and times set forth herein will not be modified except for good
15    cause shown.
16            19.   Dates and times for hearings on motions must be approved by the Court's
17    clerk before notice of hearing is served.
18            20.   Briefs or memoranda in support of or in opposition to any pending motion
19    must not exceed twenty-five (25) pages in length without leave of a district judge. No
20    reply memorandum will exceed ten (10) pages without leave of a district judge. Briefs
21    and memoranda exceeding ten (10) pages in length must have a table of contents and a
22    table of authorities cited.
23            IT IS SO ORDERED.
24    Dated: June 28, 2019
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